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                                                     EXHIBIT 1
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                                                     EXHIBIT 3
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PHOENIX AREA                                                                        Curtis S. Ekmark, Esq.
1400 East Southern Avenue, Suite 400
                                                                                            Licensed in Arizona
Tempe, Arizona 85282-5691
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F 480-427-2801                                                                         Direct: 480-427-2822



                                               March 2, 2022


         Re:      Rick Cunefar
                  Case No. 21-cr-00319-EGS

To Whom It May Concern

      I am writing in support of Rick Cunefare in relation to USA v. Rick Cunefare,
Case No. 21-cr-00319-EGS.

      I am a member of the Arizona State Bar and have been since 1993. I have worked
with Rick since about 2015 or 2016. Rick was the managing agent for two clients of
mine and we spoke on a pretty regular basis.

       I always found Rick to be very professional. He was very careful to follow all the
rules. He checked with me if there was ever a question as to what he should be doing or
the legality of any option. I never had to argue with him or try to convince him to do the
right thing or follow the law. Rather, he was always eager to do so. He would check
with me on a regular basis for interpretation of the legal governing documents and
statutes. When I spoke with him, he was prepared and professional. I was never aware
of a situation where he did not follow my advice. He would often check with his
supervisor but never contradicted legal advice.

       From our discussions, I also learned that Rick was devoted to his family. He took
care of his Mother after his Father passed away. He is proud to serve his family.

        I have found Rick to be honest in every interaction we had. I hope that he can put
this difficult issue behind him and start to re-build his life.




                                Austin  Broomfield  Phoenix  Prescott  Tucson

                                           www.carpenterhazlewood.com
                                        T 800-743-9324  F 800-743-0494
       Case 1:21-cr-00319-EGS
CARPENTER,                    Document
              HAZLEWOOD, DELGADO       23-1
                                 & BOLEN, LLPFiled     07/05/22 Page 7 of 14
March 2, 2022
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     Call me at 480 650 9433 if you want to discuss.


                                     Sincerely,



                        Curtis S. Ekmark, Esq.
                                  for
           CARPENTER, HAZLEWOOD, DELGADO & BOLEN, LLP
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                                                     EXHIBIT 4
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March 8, 2022
Re: Rick Cunefare; Case No. 21-cr-00319-EGS


To Whom It May Concern:

I am writing this letter in support of Rick Cunefare in relation for USA v. Rick Cunefare; Case No.
21-cr-00319-EGS.

I have worked in the community association management industry in the state of Arizona for
thirty (30) years, and have served the residents of several Arizona communities in different
capacities during that time.

I have known Rick Cunefare for seven years and hired him to serve as the Community Manager
for two large-scale communities during that time.

I have never questioned Rick’s integrity, character or commitment to his job or the residents
that he served. He always held himself and his staff to a high standard of care. Rick was well
liked and respected by his team members and colleagues.

Rick has very strong family values that he instills in his daughter, whom he is extremely proud
of. I feel like I have watched her grow and celebrated her accomplishments with Rick, as he has
always been eager to share his experiences as a parent.
Thank you for your consideration.


Sincerely,


Kevin Hearty
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                                                     EXHIBIT 5
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                                             MEMORANDUM



To: To Whom It May Concern

From: Sam Giusa

Date: February 21, 2022

RE: Letter in support of Rick Cunefare in relation to USA vs. Rick Cunefare; Case No. 21-cr-00319-EGS.


I had the privilege of knowing and working professionally with Rick Cunefare for close to Two (2) years;
and during that time, Rick has always shown compassion to everyone, including myself when I was
diagnosed with a concerning health issue back in early 2021. He was flexible and caring during this time
and would me on a regular basis to see how I was doing. He spoke to my wife on multiple occasions
offering to help with anything we needed. We had multiple employees who had significant health issues
which required expensive time off and he was always flexible and compassionate to them as well. We
worked closely together to manage the ongoing work schedules and to complete work tasks in a timely
manner. He had high expectations of himself and his team but would never compromise quality or
navigate around guidelines, in order to complete the job correctly. I learned a lot from Rick and how
important it was to follow the company Governing Documents, Policies and Procedures.

From the many conversations I had with Rick: I found him to be a devoted husband, father and Son as he
also takes care of his elderly mother. When his father passed; he took time off to be with him and
brought his mother back to live with him here in Phoenix. He had pictures of his family in his office and
would show pictures and videos to the staff of her dance performances and piano recitals. Family is very
important to Rick and placed them above anything else. He is a proud father and devoted to his
daughter’s happiness and development.

I have always had a professional respect and positive opinion of Rick; his work ethic, compassion for
people and how he would place his family first, was always to be commended.



Sincerely,



Sam Giusa – 480-258-0260
